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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


 FRANK NELSON                                                                      PLAINTIFF

 vs.                                                 CIVIL ACTION NO. 3:18-CV-675-CRS

 DEPUY SYNTHES SALES, INC., et al.                                              DEFENDANTS


                             ORDER FOR MEETING & REPORT

        For your convenience you will find attached a Report of the Parties’ Planning Meeting.

 To fulfill your obligations under Rule 26, you must complete the enclosed Report of the Parties’

 Planning Meeting and return it to the Court by March 13, 2019.

        If you have disagreements about the proposed schedule, or if any party desires a

 scheduling conference for any reason, please indicate this on the Report, and the Court will

 schedule a conference.

 Date: January 30, 2019
                                              ENTERED BY ORDER OF THE COURT:
                                              CHARLES R. SIMPSON, III, SENIOR JUDGE
                                              UNITED STATES DISTRICT COURT
                                                VANESSA L. ARMSTRONG, CLERK


                                      By:
                                              Renee L. Koch, Deputy Clerk

 cc: Counsel of Record
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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

 FRANK NELSON                                                                     PLAINTIFF

 vs.                                                 CIVIL ACTION NO. 3:18-CV-675-CRS

 DEPUY SYNTHES SALES, INC., et al                                              DEFENDANTS

                         REPORT OF PARTIES’ PLANNING MEETING

 Briefly Describe Claims:




 The parties believe that a scheduling conference would be helpful now in this case.

           Yes _______        No _______

           If yes, for what reason?




        In accordance with Fed. R. Civ. P. 26(f), a meeting was held on (date) at (place) and
 was attended by:
                                           for Plaintiff(s)
                                           for Defendant(s)          (party name)


           The parties have conferred and agree as follows:

       1. Pre-Discovery Disclosures:

         The parties [have exchanged] [will exchange by (date)] the information required by Fed.
 R. Civ. P. 26(a)(1).

           Supplemental disclosures and responses as required by Rule 26(e) are due no later than
 (date).
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    2. Preliminary Discovery:

       Preliminary Discovery on the issues of ____________________________ shall be
 completed by __________________.

    3. Special Instructions re: Interrogatories, Requests for Admissions and Depositions:




    4. Identify Experts and Compliance with Fed. R. Civ. P. 26(a)(2):

       From Plaintiff(s) by:    _____________________________________

       From Defendants(s) by: _____________________________________

    5. Joinder(s) of Additional Parties and Amendment of Pleadings:

       From Plaintiff(s) by:    _____________________________________

       From Defendants(s) by: _____________________________________

    6. Other Miscellaneous Matters:




    7. All Discovery:

       All discovery shall be completed by: _____________________________.

    8. Dispositive Motions:

       Dispositive motions shall be filed by: _______________________________.
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 9. Administrative Record:

        Is this a matter in which the parties believe the Court will be reviewing an administrative
 record compiled by a plan administrator?

        Yes _______         No _______

        If yes, administrative record to be filed by: __________________________.

                Responses due by: __________________________

                Replies due by: __________________________

 The parties would like a settlement conference:

        Yes _______         No _______

        If yes, month/year? _________________________


 Jury Trial Request:

        Yes _______         No _______

        If yes, case should be ready for trial by: _________________________

        Anticipated length of trial: ____________ (days)


 AGREED BY:


 ___________________________________ _____________________________________
 Counsel for Plaintiff(s)           (Counsel for Defendant(s)

 Date: __________________________
